ease 2:90-cr-200591§HE/lUS&@%§EBBSN&%T§§QB/@@UB§§§ 1 of 2 PagelD 23
FOR THE WESTERN DISTRICT OF TENNESS

WESTERN DIVISION

UNITED sTATES oF AMERICA *
* - .
H, `l`.-\ il .'.,~\
vs. * cR. NO. 2:90¢1~2098%;§§91; `
* '. .' m '.; 1 ;_~l'.'
lv.'..f ‘\,’;`
RocKrE LANE HILLIARI) *

 

ORDER HOLDING DEFENDANT FOR FINAL REVOCATION HEARING

 

On August 29, 2005, Rockie Lane Hilliard appeared before me on a charge of violation of
the terms and conditions of his supervised release in this matter. The defendant had previously been
advised of his rights under Fed.R.Crirn.P. 5 and 32.1(a), and stated that counsel William D. Massey
Was retained

At this hearing, the defendant Was released on bond and, therefore, a preliminary hearing on

the violation Was not required. w United States v. Sciuto, 531 F.2d 842, 846 (7th Cir. 1976) and

 

United States v. Tucker, 524 F.Zd 77, 78 (5th Cir. 1975), cert. denied, 424 U.S. 966, 96 S.Ct. 1462,

 

 

 

47 L.Ed.2d 733 (1976).

Accordingly, defendant, Rockie Lane Hc'lliard is held to a final revocation hearing before
United States District Judge Samuel H. Mays, .Ir. It is presumed that the District Judge will set this
matter for a revocation hearing pursuant to Fed.R.Crirn.P. 32. l(b), (c), and will see that appropriate

notices are given.

IT rs so 0RDERED mqu day of PW ,2005.
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rU M. PHAM "
UNrrED sTArES MAGISTRATE JUDGE

This docL.ment entered on the docket sh et in compliance
with H.l[e 55 and/or 32rbl FRCrP on j_LDS_’. "

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Honorable Sarnuel Mays
US DISTRICT COURT

